         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 1 of 19




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                     )
PETER P. STRZOK,                                     )
                                                     )
                       Plaintiff,                    )
                                                     )
               v.                                    )       Civil Action No. 19-2367 (ABJ)
                                                     )
ATTORNEY GENERAL MERRICK B.                          )       REDACTED
GARLAND, in his official capacity, et al.,           )
                                                     )
                       Defendants.                   )
                                                     )
                                                     )
LISA PAGE,                                           )
                                                     )
                       Plaintiff,                    )
                                                     )
               v.                                    )       Civil Action No. 19-3675 (TSC)
                                                     )
U.S. DEPARTMENT OF JUSTICE, et al.                   )
                                                     )
                       Defendants.                   )
                                                     )
                                                     )


    PETER P. STRZOK’S OPPOSITION TO DEFENDANTS’ MOTION TO QUASH
                 SUBPOENA AND FOR PROTECTIVE ORDER

       The government has worked hard in this case to prevent Plaintiff Peter Strzok from

discovering what influence then President Donald Trump had on the decision to fire him. Although

the former President has publicly crowed about being responsible for firing Strzok, and

contemporaneous news accounts reported his direct pressure on FBI and DOJ leadership to fire

Strzok, the government moved to quash a subpoena for Mr. Trump’s deposition, arguing that

Plaintiff is first required to depose all other FBI officials involved (including Director Wray). It

has broadly (and as we explain in Section 3, below, improperly) invoked the Presidential
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 2 of 19




Communication Privilege to instruct a witness who

                              on the IG investigation concerning Strzok’s text messages, not to

answer any questions about whether the then President spoke about Strzok or demanded his

termination. Now, the government seeks to also preclude the deposition of Mr. Wray, even though

Mr. Wray has unique personal knowledge relevant to Strzok’s claims.

       The government contends that all of this discovery must be precluded, or at least delayed,

unless and until Plaintiff first obtains a confession from the nominal FBI firing official—Deputy

Director David Bowdich (“DD Bowdich”)—that Mr. Trump’s pressure campaign worked and

caused him to fire Mr. Strzok. According to the government, if DD Bowdich denies being

influenced in this fashion, then all other inquiry into the circumstances surrounding the firing must

be abandoned, and his rather convenient denials accepted. There is nothing in any of the authority

cited by Defendants which requires this extraordinary level of deference to the agency’s claimed

decision-making rationale. Where, as here, record evidence shows that high-level government

officials participated in relevant actions, or have unique personal knowledge about them, they are

subject to discovery (including depositions) just like any other witness. Likewise, it is ultimately

up to the finder of fact to decide whether DD Bowdich fired Mr. Strzok for legitimate reasons or

improperly bowed to the wishes of a vengeful and very vocal President. DD Bowdich’s mere

denial of being influenced—testimony which the government appears to be eagerly anticipating—

does not end the inquiry.1




1
 Mr. Strzok first noticed Mr. Bowdich’s deposition more than a year ago but was unable to serve
him because the government refused to provide Mr. Bowdich’s address. After an attorney for Mr.
Bowdich was identified, Mr. Strzok proposed taking Mr. Bowdich’s deposition in early August,
but the Defendants said they were unavailable. Defendants subsequently insisted on moving Mr.
Strzok’s deposition to one of the dates on which they had purported to be unavailable for Mr.
Bowdich’s. Mr. Bowdich has refused to identify where he lives and refuses to be deposed by


                                                 2
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 3 of 19




        The government’s tactics have succeeded in delaying the depositions to the point where

the sequence is immaterial. Although Plaintiff has been trying to schedule it for more than a year,

Mr. Bowdich’s deposition is currently calendared for September 8, 2022. Given the imminent

close of discovery, and the time it will likely take to resolve these disputed issues, Plaintiff at this

point has no objection to deposing Mr. Bowdich on September 8, and then deposing Mr. Wray

(and former President Trump). This would partially satisfy the government’s professed “apex”

concerns, at least with respect to the timing of the discovery. But the notion that once Mr. Bowdich

formally denies being influenced by the extraordinary Trump pressure campaign, Plaintiff must

accept his testimony as the gospel truth, is not warranted, and Defendants’ motions to quash and

otherwise obstruct discovery should be denied.

                                              BACKGROUND

        Defendant Director Wray—whom President Trump nominated to lead the FBI after the

firing of FBI Director James Comey—became a central target of former President Trump’s

relentless campaign to have Mr. Strzok fired. President Trump demanded Mr. Strzok’s termination

through tweets, through statements to press gaggles on the White House lawn, through

commentary while standing shoulder-to-shoulder with Russian President Vladimir Putin on

foreign soil, and apparently during White House meetings with Mr. Wray and others. President

Trump succeeded on August 9, 2018, when DD David Bowdich purported to exercise the

Director’s right to review and modify a disciplinary action and dismissed Mr. Strzok from the

rolls of the FBI. (Exhibit 1 at FBI0007084 (emphasis added); see also Exhibit 2, FBI0007135

(“                                                                                               .”)).




counsel for Mr. Strzok in person, while apparently inviting government counsel to be present with
him.


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            Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 4 of 19




         Count I of Mr. Strzok’s Complaint alleges that the Defendants treated Mr. Strzok more

harshly because Mr. Strzok was critical of President Trump, who made his intent to retaliate

against public servants who did not kowtow to his wishes abundantly clear. It is both likely and

unremarkable that DD Bowdich will testify that the decision to terminate Mr. Strzok’s employment

was not affected by politics. At trial, Mr. Strzok will ask the finder of fact to reject those

statements, and Mr. Wray’s testimony is critical to Mr. Strzok’s ability to fully present the reasons

to do so.

         To be sure, there is already evidence in the record from which one should infer that Mr.

Strzok’s termination was influenced by Mr. Strzok’s political views.            In addition to the

extraordinary pressure from the White House, it is now clear that Mr. Strzok’s termination was

unprecedented. Discovery has revealed no other instance in the FBI’s history where the Director

or any other FBI official has directly overturned a “FINAL” decision by the FBI’s Office of

Professional Responsibility (“OPR”), let alone a final decision premised on a binding last chance

agreement. (Exhibit 3, Defs.’ Resp. to Strzok Rog 5; Will Dep. 357:2 – 362:20). OPR Assistant

Director Candice Will—the career FBI official and attorney who issued the “FINAL” decision that

did not terminate Mr. Strzok’s employment—testified that she

                                              .2




2
    Exhibit 4, Will Dep. 245:6 – 246:12 (




                                                   4
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 5 of 19




       The record is also replete with comparator cases in which shocking conduct resulted in far

lower levels of discipline. And discovery has shown that the FBI disciplined only




                         . Indeed, the Inspector General’s office notified the FBI during the

Midyear investigation that there had been



                                                                  . (Exhibit 5 at FBI0032323).

Moreover, the FBI’s decision to exercise Mr. Wray’s purported authority to insist on firing Mr.

Strzok conflicts with statements that Mr. Wray made before the full scope of President Trump’s

campaign for his termination became apparent, and with other statements by senior FBI officials

(including DD Bowdich himself) to Mr. Strzok indicating that he was not likely to be fired. (E.g.

Exhibit 6, Strzok Resp. to Defs.’ Rog 13). 3 It also conflicts with assurances that Mr. Wray made,

through his Chief of Staff, to counsel for Mr. Strzok that Mr. Wray would accept whatever decision

was made by OPR, assurances that Mr. Strzok relied upon when agreeing to the LCA.




                                                                                      ).
3
 The FBI’s justification for Director Wray’s authority is based on a provision allowing him to
modify certain “final” disciplinary decisions, but the policy is specific to “

                                                    ” Ms. Will’s suspension of Mr. Strzok was
“FINAL” because it reflected an agreement between Mr. Strzok and the FBI for valuable
consideration as the conclusion to an adverse action. (Exhibit 7 at FBI-STRZOK-0006878). The
FBI has not identified any policy that provides that the Director can unilaterally modify such
accepted agreements, nor would such a policy be consistent with contract law or due process
principles.


                                                5
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 6 of 19




       As early as January 2018, press reports indicate that Director Wray attended a meeting at

the White House during which President Trump demanded that he fire Mr. Strzok. 4 In the months

following the disclosure of Mr. Strzok’s text messages, Mr. Wray fielded questions from within

and outside the FBI about the potential discipline of Mr. Strzok. For example, in preparation for

a March 2018 all employees conference,




        ” (Exhibit 8 at FBI0061459). Mr. Wray was so involved that he received details on



                                       . (Exhibit 9 at FBI0049689). Mr. Wray also responded to

letters to letters from congresspeople regarding Mr. Strzok and his security clearance (e.g., Exhibit

10), and Mr. Strzok was “read out” of access to sensitive compartmentalized information so that

Mr. Wray could deny to Congress that he had access to such information.

       On June 11, 2018, DD Bowdich sent Mr. Wray

                                                                                       . (Exhibit 11

at FBI-Strzok-0006835). Almost immediately after the OIG released its Midyear Report on June

14, 2018, the White House                                                                           .

(Exhibit 12, FBI0041160 (“

                    ”)). Hours after that, Mr. Wray conveyed a press conference at which he

insisted, “We’re going to adhere to the appropriate disciplinary process, and once that process is


4
  Murray Waas, Exclusive: Trump Pressed Sessions to Fire 2 FBI Officials Who Sent Anti-Trump
Text Messages VOX (April 20, 2018), https://www.vox.com/2018/4/20/17258230/trump-sessions-
fire-fbi-officials-strzok-page-text-messages.


                                                 6
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 7 of 19




complete, we won’t hesitate to hold people accountable for their actions.”5 Mr. Wray appears not



                                       (Exhibit 13, Schools Dep at 337:2-17),

             , President Trump told the press, “I am amazed that Peter Strzok is still at the FBI, and

so is everybody else that read that report. . . . Peter Strzok should have been fired a long time ago.” 6

President Trump continued trying to                                      , 7 and between mid-June and

Mr. Strzok’s “FINAL” suspension by the FBI on August 9, 2018, Mr. Wray’s office

                                                                                  . (Exhibit 15, Strzok

OPR Hr. at 30:1-2). And it was on Mr. Wray’s authority that the independent, final decision of

OPR—issued by agreement on behalf of the FBI at large—was overturned.

        The Defendants argue (Motion at 4-5) that Mr. Wray’s deposition is premature because

DD Bowdich has not yet been deposed, and that Ms. Will (the only FBI employee deposed to date)

could not testify about communications between Mr. Wray and DD Bowdich. Mr. Strzok first

noticed Mr. Bowdich’s deposition more than a year ago but was unable to serve the subpoena for

months, including because the Defendants refused to provide his address.               Mr. Bowdich’s

deposition has been further delayed by the FBI’s difficulty in completing document productions

in response to Mr. Strzok’s November 2020 requests for production and by the purported



5
    Justice Department OIG Report on Clinton Email Probe, C-SPAN (June 14, 2018),
https://www.c-span.org/video/?447050-1/fbi-director-accepts-oig-report-clinton-email-probe.
6
 Donald J. Trump, Remarks by President Trump in Press Gaggle, National Archives (June 15,
2018),      https://trumpwhitehouse.archives.gov/briefings-statements/remarks-president-trump-
press-gaggle/.
7
    Exhibit 11, FBI0060600 (“


                                                ”).


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             Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 8 of 19




unavailability of Defendants’ attorneys.8 Regardless, given Mr. Wray’s involvement in the events

at issue and the relevant decisions (including what Mr. Wray did not do and why), Mr. Bowdich’s

deposition will not obviate the need for Mr. Wray’s testimony.

                                       LEGAL STANDARD

        “A protective order for a high-ranking official should be granted if the court determines

that (1) the individual is high-ranking and (2) applying a balancing test, the movant’s concern of

harm to the official outweighs ‘the adversary’s significant interest in preparing for trial.’” Byrd v.

District of Columbia, 259 F.R.D. 1, 6 (D.D.C. 2009) (quoting Low v. Whitman, 207 F.R.D. 9, 10–

11 (D.D.C. 2002)). The burden under Rule 26 is on the movant, and “[u]nless the movant can

show that the need for the protective order is ‘sufficient to overcome plaintiffs’ legitimate and

important interests in trial preparation,’ high-ranking officials are subject to deposition.” Id. at 7;

see also Kelley v. Fed. Bureau of Investigation, No. CV 13-0825 (ABJ), 2015 WL 13648073, at

*1 (D.D.C. July 16, 2015) (“high ranking government officials are generally not subject to

depositions unless they have some personal knowledge about the matter and the party seeking the

deposition makes a showing that the information cannot be obtained elsewhere”) (emphasis in

original).




8
  The FBI most recently produced approximately 9,000 pages of documents on July 11, 2022. The
FBI’s productions have contained numerous copies of identical documents, though frequently with
inconsistent redactions, such that the breadth of the actual content is dramatically overstated by
the number of pages. The FBI has produced entire production volumes with all content redacted
and has in some cases redacted non-confidential testimony that Mr. Strzok himself gave. Mr.
Strzok’s ability to review the FBI’s productions efficiently is also impacted by the FBI’s decision
to concatenate numerous emails into large PDFs that are not text searchable and cannot be
automatically sorted or searched.


                                                  8
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 9 of 19




                                           ARGUMENT

       The Defendants rely largely on the same “apex” authority presented in their motion to

quash the deposition of former President Donald Trump.            Plaintiff incorporates herein his

Opposition to that Motion, which demonstrated that under both D.C. Circuit and Second Circuit

authority (where the Motion was originally filed), depositions of even high-level current or former

government officials are appropriate if they have unique personal knowledge relevant to the

claims. Mr. Strzok does not dispute that Mr. Wray is as a high-ranking government official or that

he, unlike former President Trump, is actively engaged in important and time-consuming work.

Mr. Wray was, however, involved in and has unique personal knowledge of the events that Mr.

Strzok expects to be at the center of this case, and the testimony he can offer about his own actions,

inactions, and associated motives cannot be obtained elsewhere.

I.     Mr. Wray Has Personal Knowledge About The Matter.

       As detailed above, President Trump reportedly personally demanded during a meeting with

Mr. Wray in January 2018 that Mr. Strzok be fired. That the Defendants have not produced any

record of that meeting, the occurrence of which is confirmed by Attorney General Sessions’

schedule (see Exhibit 16), adds to the need for deposition testimony about it. If Director Wray

were to confirm, as credible news outlets have reported, that then President Trump demanded

Strzok’s firing in an oval office meeting with Mr. Wray, that would be direct evidence supporting

Mr. Strzok’s First Amendment reprisal claims.

       There is no dispute that the




                                                  9
        Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 10 of 19




                                           . (Exhibit 13, Schools Dep. 342:12 – 343:11). 9



    and any information presented to Director Wray about the President’s statements would also

be highly relevant. Mr. Wray is the only person who can accurately testify to everything he learned

about             , what (if anything) he did with that information, and how it informed his actions

and inactions.

        The record also reveals that Mr. Wray was

                     . Similarly, Mr. Wray’s office

                             , Candice Will, who declined to fire Strzok, and with DD Bowdich,

who overturned Ms. Will’s decision, vitiated an accepted Last Chance Agreement, and fired Strzok

without appeal rights. Mr. Wray is the only witness competent to testify to everything he learned

about the disciplinary process against Strzok and how President Trump’s public and private

excoriations of Mr. Strzok impacted Mr. Wray’s actions.

        Mr. Wray also responded to numerous questions about Mr. Strzok through 2018 and

repeatedly expressed his commitment to abide by the ordinary FBI process, yet DD Bowdich acted

on Mr. Wray’s purported authority when, in an unprecedented departure from FBI norms, he

overruled Ms. Will’s final decision and fired Mr. Strzok. Plaintiff is entitled to question Mr. Wray

about whether he actually delegated this putative authority to DD Bowdich, what limitations if any



9
  Defendants precluded any inquiry by Plaintiffs during the deposition of former Assistant
Attorney General Scott Schools into the content of              (including whether Mr. Trump
spoke about Peter Strzok or issued any instructions about actions to take against Strzok).




                                                                                  .


                                                10
        Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 11 of 19




he placed on the purported authority, and why he did not instruct DD Bowdich to comport with

the ordinary process of not intervening in OPR’s process in light of Mr. Wray’s statements and

President Trump’s demands. Only Director Wray has that knowledge.

       As such, Mr. Wray has direct, personal knowledge which is certainly relevant to (and

could be crucial to) the claims at issue in this case. His status as FBI Director does not immunize

him from testifying.

II.    Mr. Wray Has Information That Cannot Be Obtained Elsewhere.

       Director Wray is a Defendant in this action, and his motives, actions, and inactions are all

at issue in connection with Mr. Strzok’s First Amendment claim. The government has at least

temporarily foreclosed the only viable alternative source to information about his meeting with

President Trump through its motion to quash the subpoena Mr. Strzok served on former President

Trump. See generally in re Subpoena Served on Donald J. Trump, Garland v. Strzok, Case No.

1:22-mc-27-ABJ (D.D.C.).       Additionally, the government has attempted to foreclose all

questioning regarding

                                                          – through its meritless assertion of the

Presidential Communications Privilege.

       As in Zimmerman v. Al Jazeera Am., LLC, 329 F.R.D. 1, 6 (D.D.C. 2018), a defamation

action in which the district court approved the deposition of the Acting Director General of Al

Jazeera Media Network over “apex doctrine” objections by the defense, and Judicial Watch v. U.S.

Dep’t of State, No. CV 13-1363, 2016 WL 10770466, at *3 (D.D.C. Aug. 19, 2016), where Judge

Sullivan authorized the deposition of then Secretary of State Hillary Clinton to testify about her

reasons for using a private server to send and receive State Department emails, the knowledge

possessed by Mr. Wray about this case is both personal and unique. While others may be able to




                                                11
        Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 12 of 19




testify about the extraordinary pressure campaign from the President and his allies, and the

unprecedented steps which ultimately led to Peter Strzok’s firing, only Mr. Wray can testify about

what information he learned about those topics, what he did and didn’t do with it, and why.

       As indicated above, given the time being devoted to this Motion and the short duration of

the remaining discovery schedule, it is safe to assume that DD Bowdich’s deposition will have

been completed by the time Director Wray’s is scheduled. But Mr. Wray’s sworn testimony

remains unique and necessary, even if (as the government obviously expects) DD Bowdich denies

being impacted by political pressures and claims to have had no communication with Wray (his

boss, under whose purported delegated authority he acted) about these matters. Mr. Wray’s

testimony could either directly refute those denials, or provide further circumstantial evidence

discrediting them, which could be crucial to the fact-finder’s ultimate decision in the case.

       There is simply no authority standing for the proposition that if a government official

claims to have acted appropriately and not to have been influenced by a supervisor or other official

with illegal motive, his testimony must be accepted as true, without further inquiry. As we

explained in the Opposition memorandum regarding the Motion to Quash the Trump deposition,

courts have often found discriminatory purpose via the “Cat’s Paw” method of proof. See, e.g.,

Staub v. Proctor Hosp., 562 U.S. 411, 419-20 (2011); Steele v. Mattis, 899 F.3d 943, 950 (D.C.

Cir. 2018) (“The actions of a discriminatory supervisor that feed into and causally influence the

decisionmaker’s ultimate determination may also be the proximate cause of an adverse

employment action.”). The defendants in “Cat’s Paw” cases invariably argues that the “deciding

official” acted for bona fide reasons and was not influenced by the actor with the putative illegal

motive. But that mere incantation does not end the inquiry; it is for the finder of fact to decide

whether or not to accept that testimony, based on all of the relevant evidence about the decision-




                                                 12
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 13 of 19




making process.     The government’s bid here to cut short any meaningful discovery into

inappropriate presidential demands that the FBI fire Mr. Strzok because DD Bowdich will testify

that he acted appropriately, is misguided and unsupported.

       In sum, Mr. Wray has unique knowledge about the circumstances leading to Mr. Strzok

firing, and there is no valid basis to preclude his deposition.

III.   The PCP Does Not Shield Director Wray’s Testimony.

       Defendants, in a footnote (Mot. at 11 n.5), appear prepared to invoke the Presidential

Communication Privilege (“PCP”) as an alternative basis to preclude questioning of Mr. Wray

about any influence former President Trump sought to exert on the FBI to fire Strzok, if Mr.

Wray’s deposition takes place. This assertion of the PCP is completely unmoored from any of the

standards that the Supreme Court or D.C. Circuit courts have held guide the privilege. This Court

should rule that the PCP cannot be used to deprive Plaintiff of the crucial information he seeks.

               The presidential communications privilege is a “presumptive
               privilege” necessary to “guarantee the candor of presidential
               advisers and to provide a President and those who assist him . . .
               with freedom to explore alternatives in the process of shaping
               policies and making decisions and to do so in a way many would be
               unwilling to express except privately.” The privilege “is rooted in
               the need for confidentiality to ensure that presidential
               decisionmaking is of the highest caliber, informed by honest advice
               and full knowledge. This confidentiality is important because it is
               “what ensures the expression of candid, objective, and even blunt or
               harsh opinions and the comprehensive exploration of all policy
               alternatives before a presidential course of action is selected.”

U.S. Dep’t of Treasury v. Pension Benefit Guar. Corp., 351 F. Supp. 3d 140, 149 (D.D.C. 2018),

(quoting In re Sealed Case, 121 F.3d 729, 743 (D.C. Cir. 1997) (alterations omitted) and United

States v. Nixon, 418 U.S. 683, 708 (1974)). In U.S. Department of Treasury, Judge Sullivan

examined the applicability of the PCP to communications between then President Obama and his

staff, including then Director of the National Economic Council, Assistant to the President for



                                                  13
        Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 14 of 19




Economic Policy, and co-chair of the Presidential Task Force on the Auto Industry (“Auto Task

Force”), Lawrence Summers, concerning the decision whether or not to bail out the automobile

industry. Even though the information at issue there pertained to an important decision with

substantial public policy implications, Judge Sullivan nevertheless ordered the evidence to be

produced.

       Here, in contrast, the government has not even begun to explain what decision or policy

President Trump was involved in making when these allegedly privileged communications

occurred. The government wants it both ways: steadfastly maintaining that President Trump was

completely uninvolved in the decision to fire Strzok, while shielding any information he was given,

or any of his own statements, actions, or state of mind, relating to Strzok on the basis that they

involved some critical decision or policy. Under these circumstances, the government has failed

to show that the PCP applies.

       Moreover, even if the government could show that the PCP applied, it is not an absolute

privilege. Courts must balance the interests of both parties to determine whether it shields the

evidence being sought:

               Although entitled to great weight because of the need for
               confidentiality, the presidential communications privilege should
               be construed as “narrowly as is consistent with ensuring that the
               confidentiality of the President's decisionmaking process is
               adequately protected.” Moreover, assuming arguendo a former
               president may assert the privilege, “such a claim carries much less
               weight than a claim asserted by the incumbent himself.”
               Ultimately, the application of the privilege “depends on a weighing
               of the public interest protected by the privilege against the public
               interests that would be served by disclosure in a particular case.” In
               the context of civil discovery, a court must assess “the public
               interests at stake in determining whether the privilege should yield
               in a particular case, and must specifically consider the need of the
               party seeking privileged evidence.”

U.S. Dep’t of Treasury, 351 F. Supp. 3d at 149-150 (emphasis supplied) (citation omitted).



                                                14
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 15 of 19




       The first step in this balancing test is to determine the interests served by protecting the

President’s confidentiality in the context of the communications at issue. In re Sealed Case, 121

F.3d at 753. As Judge Sullivan explained, “The Supreme Court has effectively recognized a

continuum when analyzing the public interest in maintaining confidentiality in presidential

communications. At one end of that continuum is a claim of privilege based on a ‘need to protect

military, diplomatic, or sensitive national security secrets.’ . . . The public interest in maintaining

confidentiality of presidential communications is at its strongest when the claim of privilege rests

on a need to safeguard this type of information--information which implicates international and

national security interests.’” U.S. Dep’t of Treasury, 351 F. Supp. 3d at 152 (quoting Nixon, 418

U.S. at 706). In contrast, the weakest PCP assertions involves situations where it is simply the

principle of executive confidentiality itself which is being espoused: that is “when the privilege

depends solely on the broad, undifferentiated claim of public interest in the confidentiality of

[presidential] conversations.”    Id.   This factor tilts decidedly in favor of disclosure here.

Defendants cannot plausibly contend that examining any witness about the content of

communications regarding a disputed personnel action against an FBI employee for sending text

messages that reflected personal pollical views critical of President Trump implicates any national

security or similar concerns.

       The same is true of the next factor—precisely who has invoked the purported privilege in

the case at hand? In U.S. Dep’t of Treasury, Judge Sullivan noted that “[s]everal D.C. Circuit

cases have considered not only the nature of the materials claimed under the privilege but also who

asserts the privilege.” Id. at 153. In Dellums v. Powell, 561 F.2d 242, 247 (D.C. Cir. 1977), for

example, the D.C. Circuit found that it was “of cardinal significance . . . [that] there has been no

assertion of privilege by an incumbent president.” Judge Sullivan noted in U.S. Dep’t of Treasury



                                                  15
        Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 16 of 19




that “no President—past or present—ha[d] invoked the privilege.” 351 F. Supp. 3d at 153. Rather,

the former Deputy Counsel to President Obama had invoked the privilege on “behalf of the Office

of the President,” and Judge Sullivan reasoned that “[i]f a former President’s invocation is entitled

to less weight than an incumbent, it follows that an invocation by the government on behalf of the

Office of the President of a former administration, is similarly entitled to less weight.” Id. Here,

Defendants have been cagy about who is precisely invoking the privilege. When pressed at Mr.

Schools’ deposition, Defendants replied only that it was a claim made “on behalf of the White

House, generally.” (Exhibit 13, Schools Dep. 349:2-11).

       The timing and events in question must also be considered as “the expectation of the

confidentiality of executive communications . . . has always been limited and subject to erosion

over time after an administration leaves office.” Nixon v. Adm'r of Gen. Servs., 433 U.S. 425, 451

(1977). Here, as in U.S. Dep’t of Treasury, a considerable amount of time (four years) has elapsed

since the events in question, and whatever limited hypothetical risk to presidential advising and

decision-making that could have flown from disclosure has completely eroded.

       Finally, courts consider the extent to which the subject matter of the evidence at issue has

already reached the public. “The interest in maintaining the confidentiality of conversations

related to a subject, ‘substantially diminishes’ when there is public testimony on that subject.”

U.S. Dep’t of Treasury, 351 F. Supp. 3d at 153-54 (quoting Nixon v. Sirica, 487 F.2d 700, 715

(D.C. Cir. 1973) (stating public testimony given related to Watergate substantially diminished the

President’s interest in maintaining confidentiality of the conversations related to the subject)).

Here, the stated subject matter of any meetings the former President had about Strzok has already

been reported in the press, and President Trump himself has tweeted and spoken publicly many

times on the subject. Further testimony about it is highly unlikely to impair any sound government




                                                 16
         Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 17 of 19




interest. This factor, like all of the others, shows that the government’s purported interest in

confidentiality here is de minimus.

       In contrast, weighty interests justify the need for disclosure of the evidence at issue. In

Dellums, the court noted that though not as strong as in a criminal context, the “constitutional value

in the need for disclosure in order to provide the kind of enforcement of constitutional rights that

is presented by a civil action for damages.” 561 F.2d at 247. Here too, Mr. Strzok seeks

vindication of important constitutional rights: his right to freedom of speech expressing his

political beliefs without reprisal by his employer and/or the President of the United States, and his

right to be afforded the “due process” promised to him by FBI policy and practice before being

deprived of his chosen career in public service.

       Mr. Strzok also presents a strong showing of “need” with respect to the evidence sought.

As Judge Sullivan explained, “This component means ‘that the evidence sought must be directly

relevant to issues that are expected to be central to the trial’” and not merely “side issues.” U.S.

Dep’t of Treasury, 351 F. Supp. 3d at 156 (quoting In re Sealed Case, 121 F.3d at 754). Judge

Sullivan found this standard satisfied when the plaintiffs demonstrated the pursued discovery

“likely contain important evidence.” Id. at 157.

       Mr. Strzok easily meets that standard here. Evidence about any instructions or pressure

that the President exerted on the FBI Director is highly relevant, given the highly unusual series

of events that led to DD Bowdich overturning Ms. Will’s “FINAL” decision. Mr. Strzok’s need

for this evidence is great. These are not “side issues,” and the balance of interests under the PCP

tips decidedly in his favor.

       Thus, if the Court orders the depositions of Messrs. Trump and Wray (and the re-opening

of Mr. Schools’ deposition), the PCP presents no bar to their full and frank sworn testimony.




                                                   17
       Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 18 of 19




                                      CONCLUSION

       The Court should deny Defendants’ Motion to Quash and for a Protective Order.

Dated: July 21, 2022                      Respectfully submitted,


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                                             18
           Case 1:19-cv-02367-ABJ Document 79 Filed 07/21/22 Page 19 of 19




                                 CERTIFICATE OF SERVICE

          I hereby certify that on July 21, 2022, I caused to be served copies of the above PETER

P. STRZOK’S OPPOSITION TO DEFENDANTS’ MOTION TO QUASH SUBPOENA

AND FOR PROTECTIVE ORDER on all counsel of record in the above-captioned actions via

e-mail.


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                                                19
